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1    LAWRENCE G. BROWN
     Acting United States Attorney
2    TODD D. LERAS
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2918
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7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )    CR. S-08-0197 GEB
12               Plaintiff,           )
                                      )   STIPULATION AND [PROPOSED]
13                                    )   ORDER CONTINUING STATUS
          v.                          )   CONFERENCE
14                                    )
     MICHAEL CRAIG DENNIS,            )
15                                    )
                 Defendant.           )
16                                    )
17
18        IT IS HEREBY STIPULATED by and between Plaintiff United
19   States of America, by and through Acting United States Attorney
20   Lawrence G. Brown and Assistant U.S. Attorney Todd D. Leras, and
21   Attorney Alexandria Carl, Counsel for Defendant Michael Dennis,
22   that the status conference scheduled for March 13, 2009, be
23   continued to April 10, 2009, at 9:00 a.m.
24        The request to continue the status conference is made on the
25   ground that the parties are discussing potential resolution of
26   the case.    In light of these discussions, both parties are
27   requesting additional time for attorney preparation.         The
28   government and defendant agree that an exclusion of time is

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1    appropriate under 18 U.S.C. § 3161(h)(8)(B)(iv); Local Code T4
2    (reasonable time to prepare).
3         Alexandria Carl agrees to this request and has authorized
4    Assistant United States Attorney Todd D. Leras to sign this
5    stipulation on her behalf.
6
7    DATED: March 11, 2009              By: /s/ Todd D. Leras
                                            TODD D. LERAS
8                                           Assistant U.S. Attorney
9
10   DATED: March 11, 2009              By: /s/ Todd D. Leras for
                                            ALEXANDRIA CARL
11                                          Attorney for Defendant
                                            MICHAEL DENNIS
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1         IT IS HEREBY ORDERED:
2         1.     The status conference set for March 13, 2009, is
3    continued to April 10, 2009, at 9:00 a.m.
4         2.     Based on the stipulations and representations of the
5    parties, the Court finds that the ends of justice outweigh the
6    best interest of the public and defendant in a speedy trial.
7    Accordingly, time under the Speedy Trial Act shall be excluded
8    under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 (reasonable
9    time to prepare) up to and including April 10, 2009.
10        IT IS SO ORDERED.
11   Dated:    March 11, 2009
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13                                    GARLAND E. BURRELL, JR.
14                                    United States District Judge

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